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                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                            UNITED STATES DISTRICT COURT                                  July 11, 2023
                             SOUTHERN DISTRICT OF TEXAS                                Nathan Ochsner, Clerk
                                 HOUSTON DIVISION

CHERIE FOUNTAINE, et al.,                            §
                                                     §
       plaintiffs,                                   §
                                                     §
v.                                                   §
                                                     §      Case 4:23-cv-801
U.S. BANK NATIONAL ASSOCIATION,                      §
as indenture trustee for TOWD Point                  §
Mortgage Trust 2019-4,                               §
                                                     §
       defendant.                                    §

        ORDER GRANTING U.S. BANK'S UNOPPOSED MOTION FOR ENTRY
          OF A SEPARATE DOCUMENT ON PRELIMINARY INJUNCTION

       On this day came on to be heard U.S. Bank's unopposed motion for an entry of a separate

document on preliminary injunction. Upon consideration of U.S. Bank's motion and applicable

law, this court finds the motion should be granted as follows:

       IT IS ORDERED, ADJUDGED and DECREED that the court will enter a separate order

memorializing its ruling on plaintiffs' motion for preliminary injunction with findings of fact and

conclusions of law supporting each required element.

       Dated: July 7, 2023.



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                                                    D H. BENN
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                                             UNITED STATES
                                                      STATE ES DISTRICT JUDJUDGE
                                                                              DG
